            Case 2:12-cr-00463-JCM-VCF         Document 479     Filed 04/30/15    Page 1 of 1




1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                     ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                   2:12-cr-00463-JCM-VCF

7     vs.                                                ORDER

8     DENISE WILLIAMS,

9                           Defendant.

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11            Before the court is United States of America v. Denise Williams, case no. 2:12-cr-00463-JCM-

12   VCF.

13            IT IS HEREBY ORDERED that a competency hearing scheduled for 9:00 a.m., May 5, 2015 is

14   rescheduled to 10:00 a.m., May 5, 2015, in courtroom 3D.

15            DATED this 30th day of April, 2015.

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18                                                              CAM FERENBACH
                                                                UNITED STATES MAGISTRATE JUDGE
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